Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 1
                                    of 10
Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 2
                                    of 10
Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 3
                                    of 10
Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 4
                                    of 10
Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 5
                                    of 10
Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 6
                                    of 10
Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 7
                                    of 10
Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 8
                                    of 10
Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 9
                                    of 10
Case No. 1:06-cv-01872-RPM-MEH Document 28-22 filed 01/14/08 USDC Colorado pg 10
                                    of 10
